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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
CRUZ, on behalf of himself and all others similarly :
situated,                                           :                                  2/10/2021
                                                    :
                                   Plaintiff,
                                                    :
                                                    :
                                                                      1:20-cv-09940-ALC
                v.                                               :
                                                                 :    ORDER
                                                                 :
METLIFE PET INSURANCE SOLUTIONS
                                                                 :
LLC.,
                                                                 :
                                                                 :
                                            Defendant.
                                                                  :
----------------------------------------------------------------- x
ANDREW L. CARTER, JR., District Judge:

         It having been reported to this Court that this case has been or will be settled, it is hereby

         ORDERED that the above-captioned action is hereby discontinued without costs to any

party and without prejudice to restoring the action to this Court’s calendar if the application to

restore the action is made within thirty days.

SO ORDERED.
Dated: February 10, 2021
         New York, New York



                                                                      ANDREW L. CARTER, JR.
                                                                      United States District Judge
